USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 1 of 10




          EXHIBIT 7
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 2 of 10
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 3 of 10
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 4 of 10
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 5 of 10
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 6 of 10
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 7 of 10
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 8 of 10
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 9 of 10
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 36-43 filed 04/03/20 page 10 of 10
